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AO 93 (Rev. 11/13) Search and Seizure Warrant ss

UNITED STATES DISTRICT COURT

for the

District of New Mexico

In the Matter of the Search of
(Briefly describe the property to be searched
or identify the person by name and address)

TARGET DEVICES as described in attachment A, which
is incorporated by reference.

 

Case No. I4-MK-723

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the District of New Mexico
(identify the person or describe the property to be searched and give its location):

TARGET DEVICES as described in attachment A, which is incorporated by reference, located at 1001 Indian School Road
NW, Albuquerque NM 87104.

 

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See attachment B, which is incorporated by reference.

YOU ARE COMMANDED to execute this warrant on or before une 27, 2O ‘iF (not to exceed 14 days)
C1 in the daytime 6:00 a.m. to 10:00 p.m. fat any time in the day or night because good cause has been established.

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to lern, Ho wctkker
(Unitdd States Magistrate Judge)

 

© Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

O for days (not to exceed 30) © until, the facts justifying, the later te of

 

  
       

Date and time issued: June 1VS.20 19 SrAZ an.
}

 

 

/- Judge's signature ——

 

 

Jemy H.
City and state: Albuquerque, NM V2 “Ue ee , United States Magistrate Judge

Printed name and title
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Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
19-MR-723 06/19/2019 5:00 pm Mailed to address given at the time of traffic stop

 

 

 

Inventory made in the presence of :
SA Greg Knox

 

Inventory of the property taken and name of any person(s) seized:

Extracted all data and metadata from electronic devices listed in Attachment A, items 1,2,4-8. See evidence collection
report. Item 3 was sent to Quantico crime lab for further forensic evidence analysis.

 

Certification

 

 

| declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Caexecuting Officer's signapdre
Greg L. Knox, Special Agent

 

Printed name and title

 

 

 
 

 

 

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ATTACHMENT A
DESCRIPTION OF PROPERTY TO BE SEARCHED

The items to be searched are currently located in lawful possession of the Bureau of Indian Affairs Office of Justice
Services, Albuquerque office located at 1001 Indian School Rd, NW, Albuquerque, NM. These devices are being held
as evidence as the result of a traffic stop and seizure of processed marijuana (10.18 grams), numerous pre-loaded gift
cards (approximately 369), and a magnetic card encoder/decoder device.

Item to be searched:

1. Brand: iPhone &
Model: MQ6Y2LL/A
IMEI: 35 870809 235441 0
Serial Number: F4GY84GKJC67

2. Brand: iPhone 8
Model: MQ6Y2LL/A
IMEI: 35 675808 515273 7
Serial Number: C76VJSU3JC67

3. Brand: HP Stream Laptop
Model: 1 1-y012nr
Product ID: X7V33UA#ABA
Serial Number: 5CD8044C7C

4. Brand: iPhone SE
Model: MP7T2LL/A
IMEI: 35 379308 419542 2
Serial Number: FDDX635UHTVK

5. Brand: iPhone
IMEI: 35 734109 500782 6
Serial Number: DNPXPODGKXKV

6. Brand: Samsung Galaxy S7
Model: SM-G930VL
IMEI: 358500070962649
Serial Number: Unknown-Locked

7. Brand: Samsung Galaxy S7 Active
Model: SAMSUNG-SM-G891A
IMEI: 358518071172372
Serial Number: R38H704YO0LA

8. Brand: iPhone XR
Model: MT2G2LL/A
IMEI: 35 306510 548674 6
Serial Number: FALYDCYUKXKKQ
ATTACHMENT B

1. All records on the Device described in Attachment A that relate to violations of Title 18 U.S. Code § 1028
and Title 18 U.S. Code § 1029, including:

a. Lists of contacts who are customers and suppliers of fraudulent identities (including names, addresses;
phone numbers, email addresses and other identifying information), imported or purchased data of any
individual other than the owner of device searched, including the date, places, and amounts related to
specific transactions.

b. Lists of customers and related identifying information; including any and all information email accounts,
usernames, and payment information of bank accounts not belonging to device owners.

c. Any information related to sources of banking information used to purchase gift cards through Samsung
Pay/Apple Pay, or any other means of electronic payment (including names, addresses, phone numbers,
or any other identifying information);

2. Any information recording owner/user of TARGET DEVICE’s schedule or travel to the present;

3. Evidence of user attribution showing who used or owned the Device at the time the things described in this
warrant were created, edited, or deleted, such as logs, phonebooks, saved usernames and passwords,

. . . .
| d. All bank records, checks, credit card bills, account information, and other financial records.
documents, and browsing history;

As used above, the terms “records” and “information” include all of the foregoing items of evidence in whatever
form and by whatever means they may have been created or stored, including any form of computer or electronic
storage (such as flash memory or other media that can store data) and any photographic form.

 
